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TM Orlando Antonio Acosta ©, Secured Party and Creditor
c/o 5355 Belfield Avenue

Philadelphia. Pennsylvania [19144-9998]

Continental America

ATTN: ALL CORPORATE AGENCIES
Date: April 5, 2018
DethrI TM ORLANDO ANTONIA ACOSTA ©, A LEGAL ENTITY FOR USE IN COMIV[ERCE # SSN XXX-XX-XXXX
Creditor: TM Orlando Antonio Acosta ©, A Living, Natural Male, and Secured Party.
AFFIDAVIT OF STATUS AS SECURED PARTY AND CREDITOR

I, Orlando Antom'o Acosta ©, sole authorized agent for the Debtor and by administrative judgement
hereby serve your office with official notice of my lawful standing as Secured Party and Creditor. I
have supreme authoritative power of attorney, sole security interest, and arn the holder in due course of
first right of claim over the Debtor, evidenced by a unlimited commercial security agreement lien. l
control all affairs of the Debtor, own all assets of the Debtor, and am exempt from levy and relieved of
all liability from the Debtor.

NOTICE: The following lawful establishments shall apply upon this notice:

l. All commercial contracts listing the Debtor have been lawfully cancelled, rescinded and
revoked and are invalid and unenforceable

2. As a Creditor and Secured Party, I am distinguished and set apart as a separate entity from the
Debtor established So by lawful filings into the public and noticed with THE SECRETARY
OF STATE, and the . My identity, TM Orlando Antonio Acosta©, is copy written and no
agency or person has authorization to use, disclose, report, list or store my name or my personal
information for any purpose. Your agency is hereby ordered by Estoppel to remove all computer
entries, records, histories, paper documents, references and details in the name of the Debtor
and give notice to The Secured Party addressed below. Failure to comply is considered an
lnternational Criminal Action under UNIFORM COMMERCIAL CODES with severe
penalty at law.

3. No agency or corporate entity shall have jurisdiction over the Secured Party whatsoever The
flesh and blood man, TM Orlando Antonio Acosta ©, does not require licenses or permission to
exercise any natural right.

If you flnd this AFFIDAVIT ()F STATUS AS SECURED PARTY AND CREDITOR to be in
error, send rebuttal of the points herein to the Secured Party and Creditor, signed by an .
authorized representative or attorney for your corporation under oath and agreement to testify to
the facts and understanding before a jury under penalty of perjury.

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Furthermore: If your corporate agency has any lawful commercial claim against the Sentient,
Flesh and Blood, Non-Corporate, Natural Man, Orlando Antonio Acosta ©, submit it within (10)
Ten days of the date of this notice to the address below with valid proof of claim.

If an authorized representative of your agency fails to respond with a valid affidavit of truth in
the form of a rebuttal or does not or cannot provide a True Bill of Commerce and a Complete
Assessment of any commercial claim against my natural being, or you ignore this notice and
remain silent without Stating your claim for a period of (10) Ten days, THEN YOU ACCEPT
MY CLAIM OF LAWFUL ESTABLISHMENTS HEREIN by tacit agreement and MY
AFFIDAVIT STANDS AS TRUTH IN COMMERCE. Your default under the maxims of law

will constitute your AGREEMENT that any alleged claims against this Living, Breathing, Flesh and-
Blood, Sentient, Natural Man, and Creditor and Secured Party, Orlando Antonio Acosta ©

are unfounded in common law and thus DO NOT AND CANNOT EXIST.

Honorably,

 

Affiant By: 0 1 '

Orlando Antonio Acosta ©, Secured Party, and Creditor
c/o 5355 Belfield Avenue

Philadelphia, Pennsylvania 19 l 44-9998

Continental America

Authorized Signature: TM ORLANDO ANTONIA ACOSTA © ORLANDO ANTONIA ACOSTA

Autograph & Seal By: Secured Party CreditoW
WITHOUT PREJUDICE-WITHOUT REC URSE-NON-ASSUMPSIT
All Rights Reserved-Errors & Omissions Excepted

Dated‘£!kDay of

Notary Public’s Signature: H;L; z`M

NOtal'y Public’s Seal: coMMonEA\.TH oF P:-:NNs \iLvANlA
NOTAR|AL SEAL
ANNF_T|'E KENNEDY, Notary Pub\ic
City of Phtladelphia, Phila. Cour\ty
My Commission Exptres April 22, 2019

 

 

 

 

 

